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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
OSWALD THOMPSON JR.,                 )
Individually and on behalf of all    )
others similarly situated, et al.,   )
                                     )
       Plaintiff,                    )    CIVIL ACTION FILE NO
                                     )    1:16-CV-4217-RWS
v.                                   )
                                     )
SHERIFF THEODORE JACKSON, )
CHIEF MARK ADGER                     )
                                     )
       Defendants.                   )
                                     )

                         CERTIFICATE OF SERVICE

The undersigned counsel certifies that the foregoing DEFENDANTS’ SHERIFF

THEODORE JACKSON AND CHIEF MARK ADGER FIRST SET OF

INTERROGATORIES TO PLAINTIFF TOMMIE DOUGLAS has been

prepared in Times New Roman, 14 point type, as approved by the Court in L.R.

5.1C and that I have electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, and will provide mail notification to the following

attorneys of record listed below:

                               Mark A. Begnaud
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                              Atlanta, GA 30328
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                                Jessica Stern
                             STERN LAW, LLC
                           1100 Spring Street, NW
                                  Suite 770
                             Atlanta, GA 30309

    Respectfully submitted, this 22nd day of January, 2018.



                                   /s/Nancy L. Rowan
                                   Nancy Ladson Rowan
                                   Staff Attorney
                                   Georgia bar No. 431076


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